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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                  MDL No. 2804
IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                 Case No. 1:17-md-2804

THIS DOCUMENT RELATES TO:                         Judge Dan Aaron Polster
   Cleveland Bakers & Teamsters Health &
   Welfare Fund and Pipe Fitters Local
   Union No. 120 Insurance Fund v. Purdue
   Pharma L.P., et al.
   Case No. 18-op-45432


           CVS HEALTH CORPORATION’S MOTION TO DISMISS
     THE AMENDED COMPLAINT FOR LACK OF PERSONAL JURISDICTION

       Defendant CVS Health Corporation, pursuant to the Court’s Case Management Orders

One and Four, moves to dismiss the Amended Complaint filed in the above-captioned case for

lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2). A memorandum in

support of this motion is attached.

Date: July 23, 2018                                      Respectfully submitted,

                                                         /s/ Eric R. Delinsky_____
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 23, 2018, the foregoing was filed using the

Court’s CM/ECF filing system and will be served via the Court’s CM/ECF filing system on all

attorneys of record.


                                                    /s/ Eric R. Delinsky
                                                    Eric R. Delinsky
